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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Moses Blopleh, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:14−cv−07364
                                                         Honorable Robert M. Dow Jr.
Francisco Espinal−Quiroz, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 18, 2019:


        MINUTE entry before the Honorable Jeffrey Cummings:Settlement conference
held. All plaintiffs have settled their claims against defendants Steel Warehouse, Inc.,
Steel Warehouse Co., LLC, and J.H. Jones LLC. Defendants will be filing a motion for a
good faith finding. Plaintiffs' counsel are directed to confer with counsel for defendants
Espinal−Quiroz and Eagle Transport Group, LLC to determine whether there is further
interest in settlement by those defendants. This case is set for a status hearing on 10/1/19
at 10:30 a.m. during which counsel for the plaintiffs and non−settling defendants will be
expected to report on the status of their settlement discussions. (rbf, )




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